    Case 2:13-cr-00198-MVL-MBN             Document 377        Filed 02/29/16      Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                          CRIMINAL ACTION
 VERSUS                                                            NO: 13-198
 JESSIE L. SMITH, JR.                                              SECTION: "S" (5)


                                    ORDER AND REASONS

       IT IS HEREBY ORDERED that Yolanda Smith's Pre-Miranda Statement is ADMISSIBLE

(See Docs. #369 & 371).

       The parties dispute whether certain statements made by co-defendant Yolanda Smith are

admissible at the trial of Jessie L. Smith, Jr. When the agents entered Yolanda and Jessie Smith's

home after the package was delivered, but before Yolanda was given the Miranda warning, Yolanda

twice said something about a "white guy" putting a package in the shed. At Yolanda trial, Agent

Todd Hillberry testified that Yolana was arrested when the agents entered the home to conduct the

search. Jessie argues that Yolanda's pre-Miranda warning statements are not admissible against him

because Yolanda participation in the conspiracy ended when the agents entered the home and

arrested Yolanda.

       Rule 801(d)(2)(E) provides that "a statement by a coconspirator of a party during the course

and in furtherance of the conspiracy" is not hearsay. A coconspirator's statement is admissible under

the Rule 801(d)(2)(E) if the government establishes: "(1) the existence of a conspiracy, (2) the

statement was made by a co-conspirator of the party, (3) the statement was made during the course

of the conspiracy, and (4) the statement was made in furtherance of the conspiracy." United States

v. Galindo, 254 Fed. Appx. 391, 397 (5th Cir. 2007) (quoting United Stats v. Solis, 299 F.3d 420,

443 (5th Cir. 2002)). The United States Court of Appeals for the Fifth Circuit had held that
    Case 2:13-cr-00198-MVL-MBN             Document 377         Filed 02/29/16      Page 2 of 2




"ordinarily, a person's participation in a conspiracy ends when the person is arrested for his role in

the conspiracy." Id. (quoting United States v. Arce, 997 F.2d 1123, 1128 (5th Cir. 1993)). However,

when the "conspirators manage[] to continue conducting the business of the conspiracy after arrest,

the mere fact of arrest does not prevent the government from relying on that evidence." United States

v. Davis, 226 F.3d 346, 353 (5th Cir. 2000)

       In this case, the government has established the elements necessary under Rule 801(d)(2)(E)

for Yolanda's pre-Miranda warning statements to be admitted in Jessie's trial. Although a

coconspirator's arrest "ordinarily" ends that person's participation in the conspiracy, Yolanda made

the statements in an attempt to conceal the conspiracy and further its purpose. She had not yet been

placed in handcuffs or read the Miranda warning. Therefore, her participation in the conspiracy had

not ended when she made the statements and they are admissible in Jessie's trial.



                                     29th day of February, 2016.
       New Orleans, Louisiana, this _____



                           ____________________________________
                                MARY ANN VIAL LEMMON
                            UNITED STATES DISTRICT JUDGE




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